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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

UNITED STATES OF AMERICA,               )
                                        )
                    Plaintiff,          )
                                        )
     v.                                 )    No.    11 CR 417
                                        )
GEORGE REESE THOMAS,                    )
                                        )
                    Defendant.          )

                             MEMORANDUM ORDER

     George Reese Thomas (“Thomas”) has filed what he captions as

“Defendant’s Motion For Pretrial Release,” the Judge’s Copy of

which has been transmitted to this Court’s chambers by the

Clerk’s Office.1      But Thomas is represented by counsel, so that

he cannot present matters pro se, in addition to which he has

failed to show service of his motion on government counsel.

     Accordingly copies of the motion and of this memorandum

order are being transmitted to Thomas’ counsel and to Assistant

United States Attorney Bolling Haxall, who is assigned to the

case.       No action can or will be taken by this Court unless and

until such relief is sought in the proper manner.

                                 ________________________________________
                                 Milton I. Shadur
                                 Senior United States District Judge
Date:       May 30, 2013


        1
        What that copy reveals is that the document was prepared
and submitted in some other case, with Thomas having placed a
small sticker bearing his name over the name of the defendant in
that other case. In addition, the motion bears no signature. As
the following text reflects, however, neither of those matters is
the reason that the motion cannot be considered.
